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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      United States District CotniT r                                                7—
                                                                     for the

                                                         Eastern District of Virginia
                                                                                                  , ' -JUL 3 I 201/
               In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                       )                        i--
                                                                       ).           CaseNo. 1:17-SW-480
          4 United States Postal Service Parcels.                      )
         See Attachment A for tracking numbers.                        )
                                                                       )


                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrantand state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person ordescribe the
                                                       to be Searched).


located in the              Eastem                District of               Virginia            , there is now concealed (identify the
person or describe the property to be seized)'.
 See Attachment B (Description of Items to be Seized).


          The basis for the search under Fed. R. Crim. P. 41(c) is (check oneor more):
                 aT evidence ofacrime;
                 sTcontraband, fruits ofcrime, or other items illegally possessed;
                 aT property designed for use, intended for use, or used in committing acrime;
                 • a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

               Code Section                                                    Offense Description
        21 use § 843(b)                            Use of a Communication Facilityto Transport Controlled Substances; and
        21 use § 841(a)(1)                         Possession with Intent to Distribute a Controlled Substance.


          The application is based on these facts:
        See attached affidavit.



           •    Continued on the attached sheet.

           •    Delayed notice of                 days (give exact ending date if more than 30 days:                    ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                   {jfant's signature
  AUSA Rosanne C. Haney/SAUSA Michael Songer
                                                                                 Stephen F. Tracy, United States Postal Inspector
                                                                                               Printed name and title
                                                                                                       /S/
Sworn to before me and signed in my presence.
                                                                                        iicrcsa Carroll Buchanan
                                                                                              Suiios Magistrate Judge
Date:
                                                                                                 Judge's signature

City and state: Alexandria, Virginia                                           Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                               Printed name and title
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                                       ATTACHMENT A


                    DESCRIPTION OF PARCELS TO BE SEARCHED


Subject   Express (E), Priority (P),    From:                    To:
Parcel    First Class (F), or           Name and Address         Name and Address
          Registered (R)
          Tracking ID Number

   1      (P) 9114999944313207332766    M BoggS                  CHUCK BoggS
                                        PO BOX 152               PO BOX 1230
                                        GiLCREST CO 80623        PETERSBURG W.V.
                                                                 26847

  2       (P) 9405511899564236921689    Nathanial Young          Mr. Sam B.
                                        214 Violet Ave. Unit B   973 Patrick Henry Dr.
                                        Monrovia CA 91016        Arlington VA 22205

  3       (P) 9505514144117206097319    Sophia Morris            C. Young
                                        22681 Oak Grove Dr       4208 LaMauricie Loop
                                        Aliso Viejo CA 92656     Dumfries VA 22025

  4       (E).EL566373783US             LRG SCREEN               L. TIBBS
                                        PRINTING (EBAY)          37 MADISON ST.
                                        205. 53^ AVE             WARRENTON VA 20186
                                        BRADENTONFL
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                                   ATTACHMENT B


                     DESCRIPTION OF ITEMS TO BE SEIZED



1. Narcotics or other controlled substances, as well as contraband related to drug trafficking,

   e.g., packaging materials;

2. United States currency or other financial instruments;

3. Customer records;

4. Business ledgers, lists, and notations;

5. Prescription records;

6. Records of a financial nature; and

7. Other evidence of transactions in relation to drug trafficking.
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
                                                                                       JUL 3 ! 201/
IN THE MATTER OF A SEARCH OF

                                                                               V ...
4 UNITED STATES POSTAL SERVICE
PARCEL PACKAGES;                                               Case Number: 1:17SW480
SEE ATTACHMENT A FOR TRACKING
NUMBERS.



                    AFFIDAVIT IN SUPPORT OF APPLICATION
            FOR A SEARCH WARRANT FOR FOUR U.S. MAIL PARCELS

                                   I.      SUBJECT PARCELS


         This is an Affidavit submitted in support of an Application for a Search Warrant for four

subject U.S. Mail Parcels, hereinafter "the Subject Parcels." The Subject Parcels are currently

located at the USPS, Dulles Processing and Distribution Center in Dulles, Virginia. The USPS,

Dulles Processing and Distribution Center is located within the Eastern District ofVirginia. The

Subject Parcels are specifically identified as foUows:^



Subject    Express (E), Priority (P),      From:                        To:
Parcel     First Class (F), or             Name and Address            Name and Address
           Registered (R)
           Tracking ID Number

   1       (P) 9114999944313207332766      M BoggS                      CHUCK BoggS
                                           PC BOX 152                  PO BOX 1230
                                           GiLCREST CO 80623           PETERSBURG W.V.
                                                                       26847

   2       (P) 9405511899564236921689      Nathanial Young             Mr. Sam B.
                                           214 Violet Ave. Unit E      973 Patrick Henry Dr.
                                           Monrovia CA 91016           Arlington VA 22205


         ^For all of the tablesin this Affidavit regarding the Subject Parcel, I have listedthe
sender and recipient information as it appears on the Subject Parcel. In other words, the
capitalization, punctuation, and spelling of addresses in the table are the same as that which I
observed on the Subject Parcel.
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   3      (P) 9505514144117206097319      Sophia Morris               C. Young
                                          22681 Oak Grove Dr          4208 LaMauricie Loop
                                          Aliso ViejoCA 92656          Dumfries VA 22025

   4      (E) EL566373783US               LRG SCREEN                  L. TIBBS
                                          PRINTING (EBAY)              37 MADISON ST.
                                          205.53^AVE                   WARRENTON VA 20186
                                          BRADENTONFL




                                        II.     AFFIANT


       I, Stephen F. Tracy, being duly sworn, hereby depose and state:

       I am a Postal Inspector with the United States Postal Inspection Service ("USPIS") and

have been so employed since August 2002. Upon entering USPIS, I completed twelve weeks of

training in Potomac, Maryland. The training covered various aspects of federal law enforcement

including the investigation of narcotics-related offenses. I have received additional training

specifically in conducting narcotics investigations and participated in investigations involving

possession with intent to distribute and distribution of controlled substances. I have participated

in multiple interdictions, controlled deliveries, seizures, and search warrants, which have resulted

in criminal arrests and prosecutions.

       The facts and information contained in this affidavit are based on my personal knowledge

as well as that of the other agents involved in this investigation. All observations that were not

made personally by me were related to me by the persons who made the observations. Sources

of information used routinely in this process include verifying zip codes through a public

database maintained by the U.S. Postal Service {USPS.com) and checking associations between

names and addresses in a law enforcement database {CLEAR). This affidavit contains only that

information necessary to establish probable cause in support of an application for a search
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warrant authorizing search of the Subject Parcel. This affidavit is not intended to include each

and every fact and matter observed by or made known to agents of the government.

       Based upon my training and experience, I know that there are suspicious characteristics

common to many packages that contain narcotics, controlled substances or narcotics proceeds

(currency), and personal and financial documents related to such proceeds and narcotics. These

factors, detailed more fully below, are used as a pointer system to identify packages requiring

further investigation.

       A totality of factors or characteristics creates reasonable suspicion prior to presenting a

parcel to a canine for examination. The Subject Parcel exhibited several of these factors and was

also alerted to by a trained canine. While there are many characteristics that experienced Postal

Inspectors look for, the most common factors or suspicious characteristics routinely observed in

the course of screening packages are as follows:

        1.     Contrasts observed between Legitimate Business Parcels and Drug Parcels:

       As alternatives to First-Class Mail, which does not provide a customer with the ability to

track the progress of a parcel through the system, the U.S. Postal Service offers Priority Mail

Express and Priority Mail.

               a.        Prioritv Mail Express: Priority Mail Express is guaranteed to be delivered

on a set date and time, usually overnight (the deadline is determined at the time of mailing). The

customer receives a receipt with this guaranteed information and can opt for a signature

requirement when the parcel is delivered. Customers can track the parcel online by its distinct

Priority Mail Express tracking number. The weight of the package and the distance traveled are

the two main factors in setting the price. Priority Mail Express costs more than Priority Mail.
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                b.      Priority Mail: Priority Mail has a delivery service standard of two to four

business days, but is not guaranteed. Priority Mail is a less expensive alternativeto Priority Mail

Express, but still provides the ability to track a parcel.

        Businesses using Priority Mail Express typically have a business or corporate account

visible on the mailing label, which covers the cost of the mailing, in contrast to the drug

distributor who will pay at the counter with cash or a credit card. Business Priority Mail Express

parcels typically weigh no more than eight ounces, and business Priority Mail parcels typically

weigh no more than two pounds. Drug packages typically exceed these weights; in my

experience, it is fairly easy to separate out smaller parcels, which constitute seventy to eighty

percent of all Priority Mail Express and Priority Mail parcels, from other parcels. Address labels

on business parcels are typically typed, and address labels on drug packages are typically

handwritten. Typically, drug traffickers using Priority Mail Express will opt out of the signature

requirement.

        2.      Invalid Sender/Return Address: When drugs are shipped through the mails, the

senders generally do not want them back. To distance themselves from parcels containing drugs,

the return addresses and the names of senders are often fictitious or false. A fictitious or false

address can be anything from an incorrect zip code to a non-existent house number or street. The

name of the sender is also typically invalid: I have seen packages sent by persons with names of

celebrities, cartoon characters, or fictional persona, but more often a search of the CLEAR

database reflects that there is no association between the name of the sender and the address


provided.

        3.      Invalid Recipient/Address: It may appear counter-productive to put the wrong

receiving address on a package, but often the named recipient is not associated with the address.

This provides plausible deniability to anyone receiving the package as to their knowledge of its
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contents. Sometimes drug packages are addressed to vacant properties with the expectation that

the postal carrier will just leave it at the address. The intended recipient will then retrieve it from

that location and hope to remain anonymous.

       4.      Destination State; If other criteria are present, I know from experience and

training that a domestic package being addressed to California, for example, can indicate that a

parcel contains proceeds from the sale of illegal narcotics.

       5.      State of Origin: If other criteria are present, I know from experience and training

that domestic packages sent from California, Colorado, and Florida can indicate that a parcel

contains controlled substances.


       6.      Additional Factors: Additional factors seen less frequently, but nevertheless

noteworthy, include:

               a.      Smell: The odors of cocaine, marijuana, and methamphetamine are

distinct, and, through experience, Postal Inspectors are familiar with these odors. On occasion, a

parcel will emit an odor that is easily recognized without the assistance of a canine. Other smells

that suggest the contents are narcotics are from masking agents. Common masking agents used

in an attempt to thwart law enforcement and canines typically include dryer sheets, coffee,

mustard, and any other substance that releases a strong smell.

               b.      Packaging: Heavily taped parcels are another factor that will suggest a

drug parcel. I have also observed excessive glue on package flaps.

        It is my experience that when these factors are observed, the alert of a trained canine on

the package will follow. As a result, these factors become a reliable way to profile the parcels

being shipped every day.
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                 III.    STATEMENT OF FACTS AND CIRCUMSTANCES

       The following factors or suspicious characteristics are present in the Subject Parcels,

which are identified numerically consistent withAttachment A, in the following table.^



                                          Subject Pared 1
Priority Express/Priority/Registered/1®' Class        Priority
                                                      11 '/2"x 9"
Weight of Parcel                                      0 lbs., 8 ozs.

From Name/Address Associated                          No, name not associated with address

To Name/Address Associated                            Yes, name associated with address

Source Area                                           Yes - Colorado

Canine Alert                                          Yes-Halo^

Other Suspicious Characteristics                      Handwritten label, narcotic odor

                                          Subject Parcel 2

Priority Express/Priority/Registered/1®' Class        Priority
                                                      12 '/2" X 9 '/2"
Weight of Parcel                                      0 lbs., 1 ozs.

From Name/Address Associated                          Yes, name associated with address

To Name/Address Associated                            Yes, name associated with address

Source Area                                           Yes - California

Canine Alert                                          Yes - Halo

Other Suspicious Characteristics                      Handwritten label, narcotic odor

                                          Subject Pared 3
Priority Express/Priority/Registered/P' Class         Priority
                                                      20" X 14" X 14"



       ^Forthe table in this subpart of the affidavit, the row labeled "Source Area" indicates
whether the parcel originated or entered into the mail stream fi:om a state of origin that, if other
criteria are present, I know from experience and training can indicate that a parcel contains
controlled substances.
       ^"Halo" was last certified in March of 2017 to alert on the odors of marijuana, hash,
cocaine, crack cocaine, heroin HCL, black tar heroin, methamphetamine, and ecstasy and is
trained on a monthly basis to ensure Halo's accuracy. U.S. Customs and Border Protection
Officer Damina Notnagle is Halo's handler.
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Weight of Parcel                                      12 lbs., 12 ozs.

From Name/Address Associated                         No, name not associated with address

To Name/Address Associated                           Yes, name associated with address

Source Area                                          Yes - California

Canine Alert                                         Yes - Halo

Other Suspicious Characteristics                     Handwritten label, heavily taped

                                           Subject Parcel 4
Priority Express/Priority/Registered/1®' Class       Express
                                                      11 '/2"x 15"
Weight of Parcel                                     0 lbs., 8 ozs.

From Name/Address Associated                         No, name not associated with address

To Name/Address Associated                           Yes, name associated with address

Source Area                                          Yes - Florida

Canine Alert                                         Yes - Halo

Other Suspicious Characteristics                     Handwritten label, narcotic odor



       Standardprotocols for canine detection were followed. Specifically, the Subject Parcels

wasplacedin the workarea among otherboxes at the USPS, Dulles Processing and Distribution

Center located in Dulles, Virginia. At that time, the law enforcement handler and his narcotic-

detecting canine were brought in to search the area. The handler observed the canine and then

informed Postal Inspectors that the dog alerted on the Subject Parcels, which were hidden among

other boxes.




                                     IV.      CONCLUSION


       I submit that, based upon the above indicators exhibited by the Subject Parcels, my

training and experience and the alert of a trained canine on the package, there is probable cause

to believe that the above-described Subject Parcels contain narcotics or controlled substances
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and/or materials relating to the distribution of controlled substances through the United States

Mail.




                                                                      fector


Subscribed and sworn to before me
on the 3P' day of July 2017.
                                 /s/
                   Theresa Carroli Buchanan
                   JJftked States Magistrate Judge

Honorable Theresa Carroll Buchanan
United States Magistrate Judge

Alexandria, Virginia
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                                       ATTACHMENT A


                    DESCRIPTION OF PARCELS TO BE SEARCHED


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          Registered (R)
          Tracking ID Number

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                                        Monrovia CA 91016        Arlington VA 22205

   3      (P) 9505514144117206097319    Sophia Morris            C. Young
                                        22681 Oak Grove Dr       4208 LaMauricie Loop
                                        Aliso Viejo CA 92656     Dumfries VA 22025


   4      (E) EL566373783US             LRG SCREEN               L. TIBBS
                                        PRINTE^G (EBAY)          37 MADISON ST.
                                        205. 53^ AVE             WARRENTON VA 20186
                                        BRADENTONFL
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                                    ATTACHMENT B


                      DESCRIPTION OF ITEMS TO BE SEIZED



 1. Narcotics or other controlled substances, as well as contraband related to drug trafficking,

    e.g., packaging materials;

 2. United States currency or other financial instruments;

 3. Customer records;

 4. Business ledgers, lists, and notations;

 5. Prescription records;

 6. Records of a financial nature; and

 7. Other evidence of transactions in relation to drug trafficking.
